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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                    DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

              MOTION TO REFER CASE TO MEDIATION
              _________________________________________________
Angelo A. Stio III                    Marcel S. Pratt
Melissa A. Chuderewicz                Michael Berry
Stephanie L. Jonaitis                 Anna Kaul
TROUTMAN PEPPER LOCKE LLP             BALLARD SPAHR LLP
Suite 400, 301 Carnegie Center        1735 Market Street, 51st Floor
Princeton, NJ 08540                   Philadelphia, PA 19103-7599
(609) 452-0808                        (215) 864-8500
Angelo.Stio@troutman.com              prattm@ballardspahr.com
Melissa.Chuderewicz@troutman.com      berrym@ballardspahr.com
Stephanie.Jonaitis@troutman.com       kaula@ballardspahr.com
Attorneys for Defendants-Appellants   Attorneys for Defendants-Appellants
RocketReach LLC (No. 25-1582);        Thomson Reuters Corporation,
Deluxe Corp. (No. 25-1559);           Thomson Reuters Canada Limited,
PropertyRadar Inc.                    Thomson Reuters Enterprise Centre
(No. 25-1584); and DM Group Inc.      GmbH, and West Publishing Corp.
(No. 25-1558)                         (No. 25-1570)
        Case: 25-1555   Document: 50   Page: 2   Date Filed: 05/05/2025




Counsel Continued from Cover Page:

Robert T. Szyba                        Clair E. Wischusen
SEYFARTH SHAW LLP                      GORDON REES SCULLY MANSUKHANI
620 Eighth Avenue, 32nd Floor          LLP
New York, NY 10018                     291 W. Mt. Pleasant Avenue, Suite 3310
(212) 218-5500                         Livingston, NJ 070369
rszyba@seyfarth.com                    (973) 549-2500
                                       cwischusen@grsm.com
Attorneys for Defendants-Appellants
We Inform, LLC (No. 25-1555);          Attorneys for Defendants-Appellants
Infomatics, LLC (No. 25-1556); and     Quantarium Alliance, LLC and
The People Searchers, LLC              Quantarium Group, LLC (No. 25-1560)
(No. 25-1557)


Derek L. Shaffer                       Eric H. Lubin
QUINN EMANUEL URQUHART &               LOMURRO, MUNSON, LLC
SULLIVAN, LLP                          Monmouth Executive Center
1300 I Street NW, Suite 900            4 Paragon Way, Suite 100
Washington, D.C. 20005                 Freehold, NJ 07728
(202) 538-8000                         (732) 414-0300
derekshaffer@quinnemanuel.com          ELubin@lomurrolaw.com

-and-                                  Attorneys for Defendants-Appellants
                                       Digital Safety Products, LLC (No.
Owen B. Smitherman                     25-1562); Civil Data Research (No.
300 West 6th St, Suite 2010            25-1563); and Scalable Commerce &
Austin, TX 78701                       National Data Analytics (No. 25-1564)
(737) 667-6100
owensmitherman@quinnemanuel.com

Attorneys for Defendant-Appellant
Yardi Systems, Inc. (No. 25-1561)
       Case: 25-1555    Document: 50   Page: 3   Date Filed: 05/05/2025




Ryan J. Cooper                         Samantha L. Southall
Renier Pierantoni                      BUCHANAN INGERSOLL & ROONEY PC
COOPER, LLC – COUNSELORS AT LAW        Two Liberty Place
108 N. Union Ave., Suite 4             50 S. 16th Street, Suite 3200
Cranford, NJ 07016                     Philadelphia, PA 19102-2555
ryan@cooperllc.com                     (215) 665-3800
renier@cooperllc.com                   samantha.southall@bipc.com

Attorneys for Defendant-Appellant      Attorneys for Defendants-Appellants
Labels & Lists, Inc. (No. 25-1565)     Zillow Inc. and Zillow Group, Inc.
                                       (No. 25-1568)

John E. MacDonald
CONSTANGY, BROOKS, SMITH &
PROPHETE, LLP
3120 Princeton Pike, Suite 301
Lawrenceville, NJ 08648
(609) 454-0096
jmacdonald@constangy.com

Attorneys for Defendants-Appellants
Accurate Append, Inc. (No. 25-1567);
and Restoration of America, Inc. and
Voter Reference Foundation, LLC
(No. 25-1572)
       Case: 25-1555   Document: 50   Page: 4   Date Filed: 05/05/2025




Frederick W. Alworth                   Michael P. O’Mullan
Kevin R. Reich                         RIKER DANZIG LLP
GIBBONS P.C.                           Headquarters Plaza
One Gateway Center                     One Speedwell Avenue
Newark, NJ 07102-5310                  Morristown, NJ 07962
(973) 596-4500                         (973) 451-8477
falworth@gibbonslaw.com                momullan@riker.com
kreich@gibbonslaw.com
                                       Attorneys for Defendant-Appellant
Attorneys for Defendant-Appellant      Melissa Data Corporation
Equimine, Inc. (No. 25-1569)           (No. 25-1571)



Richard J.L. Lomuscio                  David E. Sellinger
STINSON LLP                            Aaron Van Nostrand
100 Wall Street, Suite 201             GREENBERG TRAURIG LLP
New York, NY 10005                     500 Campus Drive, Suite 400
(646) 883-7471                         Florham Park, NJ 07932-0677
richard.lomuscio@stinson.com           (973) 443-3557
                                       sellingerd@gtlaw.com
Attorneys for Defendant-Appellant      vannostranda@gtlaw.com
i360, LLC (No. 25-1573)
                                       Attorneys for Defendants-Appellants
                                       GoHunt, LLC, GoHunt Management
                                       Holdings, LLC, and GoHunt
                                       Management Holdings II, LLC
                                       (No. 25-1574)
        Case: 25-1555   Document: 50   Page: 5   Date Filed: 05/05/2025




Kelly M. Purcaro                        Matthew S. AhKao
Kory Ann Ferro                          LEWIS BRISBOIS BISGAARD & SMITH,
GREENSPOON MARDER                       LLP
One Riverfront Plaza                    One Riverfront Plaza, Suite 800
1037 Raymond Blvd., Suite 900           Newark, NJ 07102
Newark, NJ 07102                        (973) 577-6260
(732) 456-8746                          Matthew.AhKao@lewisbrisbois.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendant-Appellant
                                        Synaptix Technology, LLC
-and-
                                        (No. 25-1576)
Jennifer Fiorica Delgado
LOWENSTEIN SANDLER LLP
One Lowenstein Drive
Roseland, NJ 07068
(646) 414-6962
jdelgado@lowenstein.com

Attorneys for Defendant-Appellant
AccuZip, Inc. (No. 25-1575)


Kelly M. Purcaro                        J. Timothy McDonald
Kory Ann Ferro                          THOMPSON HINE LLP
GREENSPOON MARDER                       Two Alliance Center
One Riverfront Plaza                    3560 Lenox Road, Suite 1600
1037 Raymond Blvd., Suite 900           Atlanta, GA 30326
Newark, NJ 07102                        (404) 541-2906
(732) 456-8746                          Tim.McDonald@ThompsonHine.com
Kelly.Purcaro@gmlaw.com
                                        -and-
KoryAnn.Ferro@gmlaw.com
                                     Steven G. Stransky
Attorneys for Defendant-Appellant    (admission pending)
Joy Rockwell Enterprises, Inc. d/b/a 127 Public Square, #3900
PostcardMania PCM LLC (No. 25-1577) Cleveland, OH 44114
                                     (216) 566-5500
                                     Steve.Stransky@ThompsonHine.com

                                        Attorneys for Defendant-Appellant
                                        Fortnoff Financial, LLC (No. 25-1578)
       Case: 25-1555   Document: 50    Page: 6   Date Filed: 05/05/2025




Clair E. Wischusen                     H. Mark Stichel
GORDON REES SCULLY MANSUKHANI RKW, LLC
LLP                                    10075 Red Run Blvd., 4th Floor
MANSUKHANI LLP                         Owings Mills, MD 21117
291 W. Mt. Pleasant Avenue, Suite 3310 (443) 379-8987
Livingston, NJ 07039                   HMStichel@RKWlawgroup.com
(973) 549-2500
cwischusen@grsm.com                    Attorneys for Defendant-Appellant
                                       E-Merges.com, Inc. (No. 25-1580)
Attorneys for Defendant-Appellant
Nuwber, Inc. (No. 25-1581)



Kelly M. Purcaro                        Stephen M. Orlofsky
Kory Ann Ferro                          Philip N. Yannella
GREENSPOON MARDER                       Thomas P. Cialino
One Riverfront Plaza                    BLANK ROME LLP
1037 Raymond Blvd., Suite 900           300 Carnegie Center, Suite 220
Newark, NJ 07102                        Princeton, NJ 08540
(732) 456-8746                          (609) 750-2646
Kelly.Purcaro@gmlaw.com                 Stephen.Orlofsky@BlankRome.com
KoryAnn.Ferro@gmlaw.com                 Philip.Yannella@BlankRome.com
                                        Thomas.Cialino@BlankRome.com
Attorneys for Defendant-Appellant
The Alesco Group, L.L.C. (improperly    Attorneys for Defendant-Appellant
pled as Alesco AI, LLC, Alesco          Belles Camp Communications, Inc.
Marketing Solutions, L.L.C., Stat       (No. 25-1583)
Resource Group Inc., and Response
Solutions Group, LLC) (No. 25-1585)
       Case: 25-1555   Document: 50    Page: 7   Date Filed: 05/05/2025




Kelly M. Purcaro                        Kelly M. Purcaro
Kory Ann Ferro                          Kory Ann Ferro
GREENSPOON MARDER                       GREENSPOON MARDER
One Riverfront Plaza                    One Riverfront Plaza
1037 Raymond Blvd., Suite 900           1037 Raymond Blvd., Suite 900
Newark, NJ 07102                        Newark, NJ 07102
(732) 456-8746                          (732) 456-8746
Kelly.Purcaro@gmlaw.com                 Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 KoryAnn.Ferro@gmlaw.com

Attorneys for Defendant-Appellant       Attorneys for Defendant-Appellant
Amerilist, Inc. (No. 25-1587)           Searchbug, Inc. (No. 25-1586)



Kenneth D. Friedman                     Kelly M. Purcaro
MANATT, PHELPS & PHILLIPS, LLP          Kory Ann Ferro
7 Times Square                          GREENSPOON MARDER
New York, NY 10036                      One Riverfront Plaza
(212) 790-4500                          1037 Raymond Blvd., Suite 900
kfriedman@manatt.com                    Newark, NJ 07102
                                        (732) 456-8746
Attorneys for Defendant-Appellant       Kelly.Purcaro@gmlaw.com
Smarty, LLC d/b/a SmartyStreets, LLC    KoryAnn.Ferro@gmlaw.com
(No. 25-1589)
                                        Attorneys for Defendant-Appellant
                                        US Data Corporation (No. 25-1588)
        Case: 25-1555   Document: 50   Page: 8   Date Filed: 05/05/2025




Kelly M. Purcaro                        Jared K. Levy
Kory Ann Ferro                          WOOD, SMITH, HENNING & BERMAN
GREENSPOON MARDER                       LLP
One Riverfront Plaza                    400 Connell Drive, Suite 1100
1037 Raymond Blvd., Suite 900           Berkeley Heights, NJ 07922
Newark, NJ 07102                        (973) 265-9901
(732) 456-8746                          jlevy@wshblaw.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendants-Appellants
                                        Compact Information Systems, LLC,
-and-                                   Accudata Integrated Marketing, Inc.,
                                        Alumnifinder, ASL Marketing, Inc.,
RAJ FERBER PLLC                         College Bound Selection Services,
Kiran Raj                               Deepsync Labs, Homedata, and Student
1629 K Street NW, Suite 300             Research Group (No. 25-1590)
Washington, DC 20006
(202) 827-9785
kiran@rajferber.com

Attorneys for Defendant-Appellant
DarkOwl, LLC (No. 25-1591)



Christopher Nucifora                   William Wendell Cheney, III
Timothy M. Ortolani                    Andrew W. Sheppard
KAUFMAN DOLOWICH LLP                   FREEMAN MATHIS & GARY, LLP
Court Plaza North                      3 Executive Campus, Suite 350
25 Main Street, Suite 500              Cherry Hill, NJ 08002
Hackensack, NJ 07601                   (856) 406-1268, 1262
(201) 708-8207                         wcheney@fmglaw.com
cnucifora@kaufmandolowich.com          Andrew.sheppard@fmglaw.com
tortolani@kaufmandolowich.com
                                      Attorney for Defendant-Appellant
Attorneys for Defendant-Appellant Spy First Direct, Inc. (No. 25-1676)
Dialer, Inc. (No. 25-1592)
        Case: 25-1555    Document: 50   Page: 9   Date Filed: 05/05/2025




Jared M. Wichnovitz
LAW OFFICES OF JARED M.
WICHNOVITZ, P.C.
50 Harrison Street, Suite 206
P.O. Box 631
Hoboken, NJ 07030
(732) 765-2157
jared@wichnovitzlaw.com

Attorney for Defendant-Appellant
Greenlight Venture Corp.
(No. 25-1677)
        Case: 25-1555    Document: 50     Page: 10     Date Filed: 05/05/2025




                MOTION TO REFER CASE TO MEDIATION

      Appellants We Inform LLC et al.,1 with consent of the Attorney General for

the State of New Jersey (“NJ Attorney General’s Office”), pursuant to Federal Rule

of Appellate Procedure 33 and Local Rule 33.0, respectfully move the Court for an

order referring this matter to mediation through the Third Circuit’s Appellate

Mediation Program. Movants would prefer for the mediation to take place within

the next 90 days, after briefing has been completed. Movants are making this request

by motion because this appeal is being heard on an expedited, interlocutory basis.

Due to those circumstances, it is Movants’ understanding that the matter will not be

automatically considered for mediation in the same manner as most other civil

appeals before this Court.2

      This case is uniquely suited for mediation due to the fact that the NJ Attorney

General’s Office, which has intervened in this litigation to defend the

constitutionality of Daniel’s Law, has agreed to participate in any mediation efforts.

      Movants believe this dispute merits an in-person3 court-ordered mediation.

Movants have never doubted the merits of the original public policy purpose which


1
  All Joint Appellants join this Motion except for Innovis Data Solutions Inc. (No.
25-1566) and Lighthouse List Company, LLC (25-1593).
2
  Several of the Appellants who are parties to this motion have dispositive motions
pending in the lower District Court. This Motion is made without prejudice to their
rights in those motions.
3
  Due to the number of parties involved (and dockets that have been consolidated for
purposes of this appeal) in this matter, Movants believe an in-person mediation
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motivated passage of Daniel’s Law – i.e., protection of the safety of New Jersey’s

public servants. A mediation, if successful, would give all parties a workable path

forward to ensure that the alleged covered persons whose claims Appellees purport

to represent receive the benefits that Daniel’s Law was intended to provide. Movants

seek to attempt to work with Appellees and the NJ Attorney General’s Office as a

productive step to resolving the issues arising from the application of Daniel’s Law

that led to these lawsuits in the first place.

       Movants conferred with Appellees regarding this Motion. Appellees oppose

the request and indicated that they will file a response.

       Accordingly, Movants respectfully request for this Court to refer this matter

to the Third Circuit’s Appellate Mediation Program, with a mediation to take place

within the next 90 days after the parties’ briefing is completed.




would be the most effective and provide an environment most conducive to
resolution.


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Date:   May 5, 2025                    Respectfully Submitted,

                                       TROUTMAN PEPPER LOCKE LLP

                                       /s/ Angelo A. Stio III
                                       Angelo A. Stio III
                                       Melissa A. Chuderewicz
                                       Stephanie L. Jonaitis
                                       Suite 400
                                       301 Carnegie Center
                                       Princeton, NJ 08540-6227
                                       (609) 951-4125
                                       Angelo.Stio@troutman.com
                                       Melissa.Chuderewicz@troutman.com
                                       Stephanie.Jonaitis@troutman.com

                                       Attorneys for Defendant-Appellant
                                       RocketReach LLC (No. 25-1582)

                                       TROUTMAN PEPPER LOCKE LLP

                                       /s/ Angelo A. Stio III
                                       Angelo A. Stio III
                                       Melissa A. Chuderewicz
                                       Stephanie L. Jonaitis
                                       Suite 400
                                       301 Carnegie Center
                                       Princeton, NJ 08540-6227
                                       (609) 951-4125
                                       Angelo.Stio@troutman.com
                                       Melissa.Chuderewicz@troutman.com
                                       Stephanie.Jonaitis@troutman.com

                                       Attorneys for Defendants-Appellant
                                       Deluxe Corp. (No. 25-1559)




                                       3
Case: 25-1555   Document: 50    Page: 13   Date Filed: 05/05/2025




                               TROUTMAN PEPPER LOCKE LLP

                               /s/ Angelo A. Stio III
                               Angelo A. Stio III
                               Melissa A. Chuderewicz
                               Stephanie L. Jonaitis
                               Suite 400
                               301 Carnegie Center
                               Princeton, NJ 08540-6227
                               (609) 951-4125
                               Angelo.Stio@troutman.com
                               Melissa.Chuderewicz@troutman.com
                               Stephanie.Jonaitis@troutman.com

                               Attorneys for Defendant-Appellant
                               PropertyRadar Inc. (No. 25-1584)

                               TROUTMAN PEPPER LOCKE LLP

                               /s/ Angelo A. Stio III
                               Angelo A. Stio III
                               Melissa A. Chuderewicz
                               Stephanie L. Jonaitis
                               Suite 400
                               301 Carnegie Center
                               Princeton, NJ 08540-6227
                               (609) 951-4125
                               Angelo.Stio@troutman.com
                               Melissa.Chuderewicz@troutman.com
                               Stephanie.Jonaitis@troutman.com

                               Attorneys for Defendant-Appellant
                               DM Group Inc. (No. 25-1558)




                               4
Case: 25-1555   Document: 50    Page: 14    Date Filed: 05/05/2025




                               BALLARD SPAHR LLP

                               s/ Michael Berry
                               Marcel S. Pratt
                               Michael Berry
                               Anna Kaul
                               1735 Market Street, 51st Floor
                               Philadelphia, PA 19103-7599
                               (215) 864-8500
                               prattm@ballardspahr.com
                               berrym@ballardspahr.com
                               kaula@ballardspahr.com

                               Attorneys for Defendants-Appellants
                               Thomson Reuters Corporation, Thomson
                               Reuters Canada Limited, Thomson Reuters
                               Enterprise Centre GmbH, and West Publishing
                               Corporation (25-1570)


                               SEYFARTH SHAW LLP

                               s/ Robert T. Szyba
                               Robert T. Szyba
                               620 Eighth Avenue, 32nd Floor
                               New York, NY 10018
                               (212) 218-5500
                               rszyba@seyfarth.com

                               Attorneys for Defendants-Appellants
                               We Inform, LLC (25-1555),
                               Infomatics, LLC (25-1556), and
                               The People Searchers, LLC (25-1557)




                               5
Case: 25-1555   Document: 50    Page: 15   Date Filed: 05/05/2025




                               GORDON REES SCULLY
                               MANSUKHANI LLP

                               s/ Clair E. Wischusen
                               Clair E. Wischusen
                               291 W. Mt. Pleasant Avenue
                               Suite 3310
                               Livingston, NJ 070369
                               (973) 549-2500
                               cwischusen@grsm.com

                               Attorneys for Defendants-Appellants
                               Quantarium Alliance, LLC and Quantarium
                               Group, LLC (No. 25-1560)

                               QUINN EMANUEL URQUHART &
                               SULLIVAN, LLP

                               /s/ Derek L. Shaffer
                               Derek L. Shaffer
                               1300 I Street NW, Suite 900
                               Washington D.C., 20005
                               (202) 538-8000
                               derekshaffer@quinnemanuel.com

                               -and-

                               Owen B. Smitherman
                               300 West 6th St, Suite 2010
                               Austin, TX 78701
                               (737) 667-6100
                               owensmitherman@quinnemanuel.com

                               Attorneys for Defendant-Appellant
                               Yardi Systems, Inc. (25-1561)




                               6
Case: 25-1555   Document: 50   Page: 16   Date Filed: 05/05/2025




                           LOMURRO, MUNSON, LLC

                           s/ Eric H. Lubin
                           Eric H. Lubin
                           Monmouth Executive Center
                           4 Paragon Way, Suite 100
                           Freehold, NJ 07728
                           (732) 414-0300
                           ELubin@lomurrolaw.com

                           Attorneys for Defendants-Appellants
                           Digital Safety Products, LLC (25-1562),
                           Civil Data Research (25-1563), and
                           Scalable Commerce & National Data
                           Analytics (25-1564)

                           COOPER, LLC – COUNSELORS AT
                           LAW

                           s/ Ryan J. Cooper
                           Ryan J. Cooper
                           Renier Pierantoni
                           108 N. Union Ave., Suite 4
                           Cranford, NJ 07016
                           ryan@cooperllc.com
                           renier@cooperllc.com

                           Attorneys for Defendant-Appellant
                           Labels & Lists, Inc. (No. 25-1565)




                               7
Case: 25-1555   Document: 50   Page: 17   Date Filed: 05/05/2025




                           CONSTANGY, BROOKS, SMITH &
                           PROPHETE, LLP

                           s/ John E. MacDonald
                           John E. MacDonald
                           3120 Princeton Pike, Suite 301
                           Lawrenceville, NJ 08648
                           (609) 454-0096
                           jmacdonald@constangy.com

                           Attorneys for Defendants-Appellants
                           Accurate Append, Inc. (No. 25-1567), and
                           Restoration of America, Inc. and Voter
                           Reference Foundation, LLC (No. 25-1572)

                          BUCHANAN INGERSOLL & ROONEY
                          PC

                          s/ Samantha L. Southall
                          Samantha L. Southall
                          Two Liberty Place
                          50 S. 16th Street, Suite 3200
                          Philadelphia, PA 19102-2555
                          (215) 665-3800
                          samantha.southall@bipc.com

                          Attorneys for Defendants Zillow Inc. and
                          Zillow Group, Inc. (No. 25-1568)




                               8
Case: 25-1555   Document: 50     Page: 18   Date Filed: 05/05/2025




                               GIBBONS P.C.

                               s/ Frederick W. Alworth
                               Frederick W. Alworth
                               Kevin R. Reich
                               One Gateway Center
                               Newark, NJ 07102-5310
                               (973) 596-4500
                               falworth@gibbonslaw.com
                               kreich@gibbonslaw.com

                               Attorneys for Defendant
                               Equimine, Inc. (No. 25-1569)

                               RIKER DANZIG LLP

                               s/ Michael P. O’Mullan
                               Michael P. O’Mullan
                               Headquarters Plaza
                               One Speedwell Avenue
                               Morristown, NJ 07962
                               (973) 451-8477
                               momullan@riker.com

                               Attorneys for Defendant-Appellant
                               Melissa Data Corporation (No. 25-1571)

                               STINSON LLP

                               s/ Richard J.L. Lomuscio
                               Richard J.L. Lomuscio
                               100 Wall Street, Suite 201
                               New York, New York 10005
                               (646) 883-7471
                               richard.lomuscio@stinson.com

                               Attorneys for Defendant-Appellant
                               i360, LLC (No. 25-1573)




                                9
Case: 25-1555   Document: 50   Page: 19   Date Filed: 05/05/2025




                           GREENBERG TRAURIG, LLP

                           s/ David E. Sellinger
                           David E. Sellinger
                           Aaron Van Nostrand
                           500 Campus Drive, Suite 400
                           Florham Park, NJ 07932-0677
                           (973) 443-3557
                           sellingerd@gtlaw.com
                           vannostranda@gtlaw.com

                           Attorneys for Defendants-Appellants
                           GoHunt, LLC, GoHunt Management
                           Holdings, LLC and GoHunt Management
                           Holdings II, LLC (No. 25-1574)

                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           -and-
                           LOWENSTEIN SANDLER LLP

                           s/ Jennifer Fiorica Delgado
                           Jennifer Fiorica Delgado
                           One Lowenstein Drive
                           Roseland, NJ 07068
                           (646) 414-6962
                           jdelgado@lowenstein.com

                           Attorneys for Defendant-Appellant
                           AccuZip, Inc. (No. 25-1575)

                               10
Case: 25-1555   Document: 50     Page: 20   Date Filed: 05/05/2025




                           LEWIS BRISBOIS BISGAARD &
                           SMITH, LLP

                           s/ Matthew S. AhKao
                           Matthew S. AhKao
                           One Riverfront Plaza, Suite 800
                           Newark, NJ 07102
                           (973) 577-6260
                           Matthew.AhKao@lewisbrisbois.com

                           Attorneys for Defendant-Appellant
                           Synaptix Technology, LLC (No. 25-1576)

                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Joy Rockwell Enterprises, Inc. d/b/a
                           PostcardMania PCM LLC (No. 25-1577)
                           THOMPSON HINE LLP

                               s/ J. Timothy McDonald
                               J. Timothy McDonald
                               Two Alliance Center
                               3560 Lenox Road, Suite 1600
                               Atlanta, Georgia 30326
                               (404) 541-2906
                               Tim.McDonald@ThompsonHine.com

                               -and-



                                11
Case: 25-1555   Document: 50     Page: 21    Date Filed: 05/05/2025




                               Steven G. Stransky (application for
                               admission pending)
                               127 Public Square, #3900
                               Cleveland, OH 44114
                               (216) 566-5500
                               Steve.Stransky@ThompsonHine.com

                               Attorneys for Defendant-Appellant
                               Fortnoff Financial, LLC (No. 25-1578)

                               RKW, LLC

                               s/ H. Mark Stichel
                               H. Mark Stichel
                               10075 Red Run Blvd., 4th Floor
                               Owings Mills, MD 21117
                               (443) 379-8987
                               HMStichel@RKWlawgroup.com

                               Attorneys for Defendant-Appellant
                               E-Merges.com, Inc. (No. 25-1580)

                               GORDON REES SCULLY
                               MANSUKHANI LLP

                               s/ Clair E. Wischusen
                               Clair E. Wischusen
                               291 W. Mt. Pleasant Avenue
                               Suite 3310
                               Livingston, NJ 07039
                               (973) 549-2500
                               cwischusen@grsm.com

                               Attorneys for Defendant-Appellant
                               Nuwber, Inc. (No. 25-1581)




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                           BLANK ROME LLP

                           s/ Stephen M. Orlofsky
                           Stephen M. Orlofsky
                           Philip N. Yannella
                           Thomas P. Cialino
                           300 Carnegie Center, Suite 220
                           Princeton, NJ 08540
                           (609) 750-2646
                           Stephen.Orlofsky@BlankRome.com
                           Philip.Yannella@BlankRome.com
                           Thomas.Cialino@BlankRome.com

                           Attorneys for Defendant-Appellant
                           Belles Camp Communications, Inc.
                           (No. 25-1583)

                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           The Alesco Group, L.L.C. (improperly pled
                           as Alesco AI, LLC, Alesco Marketing
                           Solutions, L.L.C., Stat Resource Group Inc.,
                           and Response Solutions Group, LLC)
                           (No. 25-1585)




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                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Searchbug, Inc. (No. 25-1586)

                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Amerilist, Inc. (No. 25-1587)




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                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           US Data Corporation (25-1588)

                           MANATT, PHELPS & PHILLIPS, LLP

                           s/ Kenneth D. Friedman
                           Kenneth D. Friedman
                           7 Times Square
                           New York, NY 10036
                           (212) 790-4500
                           kfriedman@manatt.com

                           Attorneys for Defendant-Appellant
                           Smarty, LLC d/b/a SmartyStreets, LLC
                           (25-1589)




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                           WOOD, SMITH, HENNING &
                           BERMAN LLP

                           s/ Jared K. Levy
                           Jared K. Levy
                           400 Connell Drive, Suite 1100
                           Berkeley Heights, NJ 07922
                           (973) 265-9901
                           jlevy@wshblaw.com

                           Attorneys for Defendants-Appellants
                           Compact Information Systems, LLC,
                           Accudata Integrated Marketing, Inc.,
                           Alumnifinder, ASL Marketing, Inc., College
                           Bound Selection Services, Deepsync Labs,
                           Homedata, and Student Research Group
                           (No. 25-1590)

                           GREENSPOON MARDER

                           s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           -and-
                           RAJ FERBER PLLC
                           Kiran Raj
                           1629 K Street NW, Suite 300
                           Washington, DC 20006
                           (202) 827-9785
                           kiran@rajferber.com

                           Attorneys for Defendant-Appellant
                           DarkOwl, LLC (No. 25-1591)

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                           KAUFMAN DOLOWICH LLP

                           /s/ Christopher Nucifora
                           Christopher Nucifora, Esq.
                           Timothy M. Ortolani, Esq.
                           Court Plaza North
                           25 Main Street, Suite 500
                           Hackensack, New Jersey 07601
                           (201) 708-8207
                           cnucifora@kaufmandolowich.com
                           tortolani@kaufmandolowich.com

                           Attorneys for Defendant Spy Dialer, Inc.
                           (No. 25-1592)

                           FREEMAN MATHIS & GARY, LLP

                           /s/ William Wendell Cheney, III
                           William Wendell Cheney, III
                           Andrew W. Sheppard
                           3 Executive Campus, Suite 350
                           Cherry Hill, NJ 08002
                           856.406.1268, 1262
                           wcheney@fmglaw.com
                           Andrew.sheppard@fmglaw.com

                           Attorney for Defendant-Appellant
                           First Direct, Inc. (No. 25-1676)




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                           LAW OFFICES OF JARED M.
                           WICHNOVITZ, P.C.

                           /s/ Jared M. Wichnovitz
                           Jared M. Wichnovitz
                           50 Harrison Street, Suite 206
                           P.O. Box 631
                           Hoboken, NJ 07030
                           732.765-2157
                           jared@wichnovitzlaw.com

                           Attorney for Defendant-Appellant
                           Greenlight Venture Corp. (No. 25-1677)




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and

Local Appellate Rule 31.1, I hereby certify that:

      1.      The foregoing Motion complies with the type-volume limitation of

Fed. R. App. P. 32(a)(7)(B), because, according to the word count of the word-

processing system used to prepare the Motion, the Motion contains 418 words;

      2.      The foregoing Motion complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Office Word 2010 in 14-point Times New Roman font;

      3.      The text of the electronic Motion and the text of any paper copies

required to be filed with the Clerk are identical; and

      4       The PDF file of this Motion has undergone a virus check using

Windows Defender Advanced Threat Protection Antivirus, Version 1.427.638.0

(last updated May 5, 2025), and no virus was detected.

      This 5th day of May, 2025.

                                                      /s/ Angelo A. Stio III
                                                      Angelo A. Stio III




                              Certificate of Compliance
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                   CERTIFICATION OF BAR ADMISSION

      Pursuant to L.A.R. 46.1, I hereby certify that at least one of the attorneys

whose names appear on this brief is a member of the bar of this Court.



                                              /s/ Angelo A. Stio III
                                              Angelo A. Stio III




                          Certification of Bar Admission
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of May, 2025, I caused a true and correct

copy of this Joint Motion to Refer Case to Mediation to be served via ECF using

the CM/ECF system. Participants in the case are registered CM/ECF users, and

service will be accomplished by the appellate CM/ECF system.

                                             /s/ Angelo A. Stio III
                                             Angelo A. Stio III

                                             Angelo A. Stio III
                                             Melissa A. Chuderewicz
                                             Stephanie L. Jonaitis
                                             TROUTMAN PEPPER LOCKE LLP
                                             Suite 400, 301 Carnegie Center
                                             Princeton, NJ 08540
                                             609-452-0808
                                             Angelo.Stio@troutman.com
                                             Melissa.Chuderewicz@troutman.com
                                             Stephanie.Jonaitis@troutman.com

                                             Attorneys for Defendants-Appellants
                                             RocketReach LLC (No. 25-1582);
                                             Deluxe Corp. (No. 25-1559);
                                             PropertyRadar Inc.
                                             (No. 25-1584); and DM Group Inc.
                                             (No. 25-1558)




                               Certificate of Service
